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                             INDEX OF EXHIBITS
 Number              Description
     1.              Trial Ex. 1(a), 6/6/17, 10:49am call
     2.              Trial Ex. 1(b), 6/6/17, 12:15pm call (part one)
     3.              Trial Ex. 1(c), 6/6/17, 12:15pm (part two)
     4.              Trial Ex. 1(d), 6/6/17, 3:57pm call
     5.              Trial Ex. 1(e), 6/7/17, 7:06pm call
     6.              Trial Ex. 1(f), 6/9/17, 5:46pm call (part one)
     7.              Trial Ex. 1(g), 6/9/17, 5:46pm call (part two)
     8.              Trial Ex. 1(h), 6/10/17, 6:31pm call
     9.              Trial Ex. 1(i), 6/10/17, 7:14pm call
     10.             Trial Ex. 1(j), 8/15/17, 3:11pm call
     11.             Trial Ex. 1(k), 8/26/17, 9:22pm call
     12.             Trial Ex. 1(l), 9/2/17, 5:11pm call
     13.             Trial Ex. 1(m), 10/2/17, 1:51pm call
     14.             Trial Ex. 1(n), Summary Exhibit of calls
     15.             Trial Ex. 1(o), 6/6/17, 10:49am call
     16.             Trial Ex. 2(g), Summary Exhibit of 8/25/17 text msgs
     17.             Trial Ex. 3(j), Summary Exhibit of 9/2/17 text msgs
     18.             Trial Ex. 4(d), Summary Exhibit of 9/2/17 text msgs
     19.             Trial Ex. 6, Michigan LEIN Report (Dukes, M.)1
     20.             Trial Ex. 7, Michigan LEIN Report (Jackson, S.)
     21.             Trial Ex. 8, Michigan LEIN Report (***468)


 1        Dates of birth and other PII were redacted in this filing.
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